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                        UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
JULY 8, 2021
CHIEF DISTRICT JUDGE SHELLY D. DICK


UNITED STATES OF AMERICA
                                                             CRIMINAL ACTION

VERSUS
                                                             18-164-SDD-EWD-1

MICHAEL D. GIBBS


      This cause came on this day for Sentencing.

      PRESENT: Alan Stevens, Esq.
               Counsel for United States

                   Brent Stockstill, Esq.
                   Counsel for Defendant

      Courtroom Deputy calls the case.

      Counsel make appearances.

      Court confirms Defendant received and reviewed his Presentence Investigation

Report.

      There are three (3) objections argued by the Defendant.

      Government responds.

      Court denies all three objections for oral reasons assigned.

      Court accepts the Plea Agreement.

      Court adopts the factual basis as contained in the Presentence Report.

      Defendant allocutes.
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     Attorneys argue for Sentencing.

     Court imposes Sentence and orders Presentence Investigation Report filed into

the record UNDER SEAL.

     Government moves to dismiss remaining counts and Court grants the motion.

     Court outlines forfeiture and advises Defendant of his appeal rights.

     Defendant is remanded to the custody of the United States Marshal.

     Court is adjourned.

                                       *****

Reporter: Shannon Thompson
Cr51a/0.75
